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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)
. Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with: .
2:19-4-08228 laflo/14 _10:00a.m._| Alexis Vargas

Inventory made in the presence of :

Special Agent Thomas

 

Inventory of the property taken and name of any person(s) seized:

° a digital pounet Scales -

. Suspected Cocaine
° Suspected countertet pills

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

 

Date: 12Q/ Key QO\A , Quo. KH Shen
| , Executing officer's signature
Josh —Gilliano Special Agent

\ Printed name and title

 

 

 
